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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA


           v.                                              23 Cr 317


NHI NGOC MAI LE



                 MEMORANDUM REQUESTING CLEMENCY

     With the permission of Ms. Nhi Ngoc Mai Le, I make the following plea
for clemency and intreat the Court to follow the Sentencing Recommendation
of the Office of United States Probation. Mai Le was misled by Vietnamese
language internet servers and believed she must come to Washington on
January 6th, 2021 to prevent a Communist takeover of her safe haven -- the
United States.

     Mai Le grew up in a rural village in Vietnam. Members of her family
had been imprisoned and killed under the Communist Regime. She and her
parents escaped to the United States when she was nineteen. Since her
arrival in the United States she has lived and worked in an insular, tiny
community. Her fear of Communism and her limited understanding of the
English language, led her to accept and to believe the misinformation of a
Vietnamese Internet "influencer". She and her high school friends were
terrified of this anti-Democratic Party propaganda. Within her insular world,




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she had limited access to information to balance or to confront the
misinformation.

     Mai Le has begun to educate herself and to try to listen to other sources
of information. She has seen the democratic transition and has experienced
three years of the presidency of Joseph Biden. She is no longer terrified.
She has learned of her mistake. She wishes to participate more fully in her
community. In order to participate, she must continue to study English as a
Second Language. When she is competent in spoken English, she will be
able to study about government, history and civics. She assures the Court
she will never repeat her mistakes surrounding January 6th, 2021.

     I spent my young adult years agonizing about the situation in Vietnam
and the young men from my high school who had been drafted to fight. In
the late seventies my friends and roommates worked with the Hmong and
other Vietnamese refugees in displacement centers around the world. I
agonized over the boat people and the fate of the Vietnamese people who
had supported the United States and had been left behind.

     When I was appointed to represent Nhi Ngoc Mai Le I thought I might
know what had driven her to come to Washington and to participate in the
events of January 6, 2021. I believed I knew her hopes and her fears, before
I ever spoke to her. In September 2023, she confirmed that her fear of
Communism impelled her to come to Washington.



     Nhi Ngoc was born in a rural village in Vietnam. According to
Wikepedia:


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       " Vietnam is a developing country with a lower-middle-income
economy. It has high levels of corruption, censorship, environmental issues
and a poor human rights record; the country ranks among the lowest in
international measurements of civil liberties, freedom of the press, and
freedom of religion and ethnic minorities." Wikepedia Att. 1

      Her family had supported the United States until the U.S. withdrawal in
1974. When the troops were withdrawn, many of her family members were
imprisoned or "lost". She grew up in a society where her family was isolated
and stigmatized by their earlier political affiliations. One uncle had escaped
to the United States. In 2015 when Nhi Ngoc was nineteen, she fled
Vietnam with her brother and her parents for the United States. After multiple
moves, the family now lives in Montgomery, Illinois. She and her parents,
brother and husband share a home. There is a miniscule Asian community
in Montgomery. She has worked in a Vietnamese Nail Salon with her
husband since her arrival. Her exposure to information has been very limited
due to language barriers and the isolation of her family.

      As Mai Le explains

      " I endeavored to learn English, but understanding political matters
and various events posed a formidable challenge. Unable to grasp TV news,
I relied on YouTube summaries, particularly from a YouTuber named Tran
Maico, who claimed to be a lawyer. His information raised concerns about
the U.S. turning communist, reviving memories of childhood fears. This led
me to participate in the events at Washington DC on January 6th."




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      Since September, Mai Le she has made efforts to educate herself
about the events surrounding January 6th. She tried to understand the
House Committee Select Hearings on January. 6th, but the language barrier
made comprehension too difficult. After listening for several hours, she gave
up. She has been reading as much as possible and has used Google
Translate and other on line applications to help her to understand books on
United States History and Government. She has read A Young Peoples
History of the United States, by Howard Zinn. She has written a book report
on the book. Att. 2.

      She has spoken to counsel about her awakened interest and
understanding of politics and our electoral system. When she came to
Washington in January 2021, she was very scared that the United States
would turn into a Communist Country should Biden would win. She was
influenced by You Tube News TranmaicoUsa. Mai Le writes:

      " Now it's been three years since Biden became president and
everything hasn't been bad. My life is still normal. So perhaps everything
was exaggerated by Tran Maico. I went to Washington in response to
Trump's call on social media. I'm no longer afraid. Now I have different goals
to focus on. I want to prioritize family and career, rather than following
politics. I know that Biden is the lawful president of the United States. I feel
shame and remorse. It's embarrassing. I love this country deeply. I even
have a tattoo on my hand with the date I arrived in the United States. When
the news portrayed me as a troublemaker, a terrorist at the Capitol, I felt
devastated and ashamed. If given a chance to redo my life, I would not have




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gone to DC on January 6th. The events of that day have caused me a lot of
pain for a long time. "

      Mai Le has rejected the incorrect information which led her to come to
Washington. She continues to try to learn about civics and U.S. government.
She is working to help her parents and her brother. She is a new mother with
an infant daughter. She would like to study English as a Second Language.
As a nursing mother of a newborn, she has limited time to return to school.
Once her daughter attends school she hopes to be able to read all of her
daughter's school books and to learn about United States government along
with her child.

      In the future, she hopes to have the opportunity to attend community
college to improve her English language skills and thereafter to take classes
on United States History, United States Government and Civics.           She
understands how central understanding spoken English is,           to access
reliable information. She hopes to never again believe propaganda, because
of the inadequacies of her language skills. She wishes to improve her
communication skills for herself, for her family and for her daughter.




      Linda Wolff, United States probation Officer states in her
Recommendation to the Court::

      " Regarding just punishment, a sentence of two years’ probation is
recommended in this case. The sentence is sufficiently punitive to address


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the goals of sentencing. The instant offense reflects the defendant’s first
involvement with the criminal justice system. All the personal history and
characteristics of the defendant are mitigating. The probation office contends
the community is better served with the defendant receiving a sentence of
probation which allows the defendant to continue working, continue paying
taxes, and continue volunteering. "

      Mai Le became a mother this past December. At this time she is a full
time mother to her beautiful daughter.   She is breast feeding the baby and
would like to be able to stay home with her child and to continue to care for
her. I attach family photographs for the Court. Att. 3




      We beg the Court to recognize the mitigating factors that led to Mai
Le's involvement in the events of January 6, 2021. Although most of the
individuals who came to Washington three years ago were misinformed and
manipulated by their so called leaders, Mai Le was much more vulnerable to
misinformation, because of her isolation and her limited access to reliable
information. Her family history and the insularity of her life and work in the
United States, allowed her fear of Communism to be stirred into action by
YouTube propaganda in the Vietnamese language. She had limited access
to other sources, which might balance or to counter the disinformation.

      In January 2021 Mai Le was unsophisticated, and uneducated about
United States civics. She faced a formidable language barrier. She lived in
a small suburb of Chicago. Her family and the workers at the Nail Salon were
the only Vietnamese speakers. She has come to understand her naive and


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gullible acceptance of untruths. She is embarrassed and remorseful and
aspires to overcome her great mistake. She was misled. She will not be
fooled again.

       It took great courage for Mai Le and her family to come to the United
States. It even took courage go to Washington on January 6th. It has taken
great courage and resolution for Mai Le to recognize and acknowledge her
mistakes and to take responsibility for her criminal conduct.

     On September 19, 2023, the day I first spoke to Mai Le, she asked me
please to help her enter a plea of guilty. She did not wish to see any
photographs or videos supplied by the Government. She acknowledged
what she had done, and she accepted and believed her conduct was very
wrong. She requested the Government afford her the opportunity to accept
responsibility as soon as possible.

      On her behalf, on October 4, 2023, I requested the Government
arrange an early plea. AUSA Mumma complied with the request. Mai Le
reviewed and returned the signed documents on October 20, 2023. An early
plea was accepted by this Court November 8, 2023.

     Nhi Ngoc Mai Le was inside the U.S. Capitol for under five minutes.
She did not destroy any property nor participate in assaultive conduct. Her
entry into the U.S. Capitol was criminal conduct. While misinformation had
led her to believe the United States was in danger of a Communist takeover,
her experience on January 6, 2021 and in the three years that have followed,
have taught her the beliefs were unfounded. She accepts responsibility for




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her unlawful conduct. Since her arrest she has been cooperative with PTS,
and the Office of U.S. Probation

     Mai Le is a new mother. She is whole heartedly remorseful. On
February 26, 2024, she will speak to the Court from her heart and will be
available to answer any questions or concerns. She hopes the Court will
impose a Sentence that will permit her to remain at home to care for her
newborn daughter.

     What sentence best promotes justice for Mai Le and benefits and
safeguards the community? In this case Mai Le's criminal involvement was
caused by her fear, compounded by her isolation and by her lack of
information. I propose a Sentence which would expand this young woman's
knowledge and her experience in the United States. She is a good candidate
for a Sentence of Probation with an educational component.

      Instead of requiring hours Community Service in the traditional sense,
I propose a service agreement which would expand Mai Le's horizons and
help her to become an active and responsible citizen and perform work to
heal the world.

     I propose first, that Mai Le register to vote. This will allow her to
become a poll watcher. I propose she volunteer to become a poll watcher in
the 2024 election. Her hours of training would count as community service
hours. She agrees to do this. Att. 4

     I propose she also join the Appalachian Trail Club. She would meet
and work with individuals beyond her family and her co workers at the nail
salon. She would repair trails and forests around Montgomery, Illinois. This


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would expand her experience, require her to develop speaking and listening
skills and help to heal the earth. She agrees to do this. Att. 5

         I propose she volunteer with HIAS or another similar group. She would
tell her story to other refugees and help them to enter our diverse community,
even as she better integrates into the community herself. She agrees to do
this. Att. 6

         I propose she join the Kiwanis or another non-profit outreach group to
promote her spoken English skills, and to tell her story to young people to
promote community and help students better understand the world.          She
agrees to do this. Att. 7

      Mai Le can perform community service while she learns about her
community. Every step forward for Mai Le is a step upward for her daughter,
for her family and for her community.

      As a special Condition of Probation she should also study English as
a Second Language. Thereafter, she could fulfill her dream to study United
States History, Government and Civics at Wambonsee or Elgin Community
College. Att. 8

      On behalf of Mai Le we request the Court grant clemency and follow
the recommendation of Linda Wolff of the Office of United States Probation
for a non custodial sentence to allow Mai Le to care for her infant daughter
at home . She will pay restitution and court costs in a timely manner. She
will participate in educational and community service as ordered by the
Court.



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                Respectfully submitted,



                ___________/s/_________________

                H. Heather Shaner, DC Bar 273276
                Appointed by the Court for Nhi Ngoc Mai Le

                1702 S Street N.W.

                Washington, D.C. 20009




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